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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


NEW YORK IMMIGRATION
COALITION, et al.,

 Plaintiffs,                                 Civil Action No. 1:18-cv-05025

 v.

UNITED STATES DEPARTMENT OF
COMMERCE; and WILBUR L. ROSS,
JR., in his official capacity as Secretary
of Commerce, et al.

 Defendants


STATE OF NEW YORK, et al.,

 Plaintiffs,
                                             Civil Action No. 1:18-cv-2921
 v.

UNITED STATES DEPARTMENT OF
COMMERCE; and WILBUR L. ROSS,
JR., in his official capacity as Secretary
of Commerce, et al.

 Defendants




RULE 26(A)(2)(B) EXPERT REPORT AND DECLARATION OF LISA HANDLEY, PhD
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I. Professional experience
       I have over thirty years of experience as a voting rights and redistricting expert. I have
advised scores of jurisdictions and other clients on minority voting rights and redistricting-
related issues and have served as an expert in dozens of voting rights cases. My clients have
included state and local jurisdictions, the U.S. Department of Justice, national civil rights
organizations, and such international organizations as the United Nations.
       I have been actively involved in researching, writing and teaching on subjects relating to
voting rights, including minority representation, electoral system design and redistricting. I co-
authored a book, Minority Representation and the Quest for Voting Equality (Cambridge
University Press, 1992) and co-edited a volume, Redistricting in Comparative Perspective
(Oxford University Press, 2008), on these subjects. In addition, my research on these topics has
appeared in peer-reviewed journals such as Journal of Politics, Legislative Studies Quarterly,
American Politics Quarterly, Journal of Law and Politics, and Law and Policy, as well as law
reviews (e.g., North Carolina Law Review) and a number of edited books. I hold a Ph.D. in
political science from The George Washington University.
       I have been a principal of Frontier International Electoral Consulting since co-founding the
company in 1998. Frontier IEC specializes in providing electoral assistance in transitional
democracies and post-conflict countries. In addition, I am a Visiting Research Academic at Oxford
Brookes University in Oxford, United Kingdom. Attached to this report is a copy of my
curriculum vitae.
       I have served as an expert witness in more than 25 voting rights cases, including six
cases on behalf of the U.S. Department of Justice. A number of cases in which I have been
accepted by courts as an expert have required me to ascertain the impact of various electoral
systems or redistricting plans on minority voters in which at least one of the minority groups at
issue in the jurisdiction was impacted by citizenship rates. For example, in the last dozen years,
I have served as an expert in four cases that involved Voting Rights Act challenges in which
Hispanic voting strength was of concern, three as an expert on behalf of the U.S. Department of
Justice: Perry v. Perez, a Section 2 case challenging Texas congressional and state house
districts; State of Texas v. U.S., a Section 5 case regarding proposed congressional and state


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legislative districts in Texas before the U.S. District Court of the District of Columbia; and U.S. v.
Village of Port Chester, a Section 2 challenge brought by the U.S. Department of Justice on
behalf of Hispanic voters in the Village of Port Chester, New York. (Lopez v. Abbott, a Section 2
challenge to the at-large method of electing Texas Supreme Court justices and appellate court
judges, is the fourth case.)
        In addition, since the most recent round of decennial redistricting commenced in 2011, I
have served as a voting rights consultant for a number of jurisdictions concerned with the
possible effects of redistricting plans, alternative voting systems, and other electoral reforms on
Hispanic voting rights, including the Village of Port Chester (2017-2018),1 New York City (2008,
2010 and 2018),2 and Miami-Dade County (2011).3


II. Scope of inquiry
        I was retained in July 2018 by plaintiffs in the New York Immigration Coalition and New
York State Office of the Attorney General cases, and in August 2018 by plaintiffs in the City of San
Jose case, against the Department of Commerce and others concerning the addition of a
citizenship question to the 2020 decennial census questionnaire. They have asked me to provide
my expert opinion on the effectiveness of current U.S. Census Bureau data resources for
enforcing Section 2 of the Voting Rights Act (“VRA”) – in particular, in circumstances in which the

1
 A consent decree entered by the court in U.S. v. Village of Port Chester expired in June 2016 and, faced
with the decision of whether to retain the current cumulative voting scheme or adopt another electoral
system, the Port Chester Board of Trustees hired me to assist them with exploring alternative governance
options and identifying the potential impact of these options on Hispanic voting strength.

2
 I was a voting rights consultant to the New York City Districting Commission in 2003 and 2013; I
evaluated the likely impact of proposed Local Law 51 (the extension of term limits from two to three
terms) on minority voters for the City Law Department in 2008-2009; and I analyzed the likely
consequences for minority voters of the adoption of proposed changes to the City Charter for the New
York City Charter Revision Commission in 2010 (when a reinstatement of a two-term limit on city offices
and the adoption of the Instant Runoff Vote were considered) and in 2018 (when the adoption of Instant
Runoff Voting was once again under consideration).
3
 I was retained by the Miami-Dade Board of County Commissioners to conduct an analysis of voting
patterns by race and ethnicity in recent Miami-Dade elections and, using this information, to provide
guidance during the redistricting process to ensure that the redrawn commission districts did not dilute
Hispanic voters in violation of the Voting Rights Act of 1965.


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citizenship rate of the minority group impacts their ability to participate in the electoral process
and elect candidates of their choice to office.4
          I understand that in December 2017, Arthur Gary, General Counsel in the Justice
Management Division of the U.S. Department of Justice, submitted a letter to the Census
Bureau requesting a citizenship question on the decennial census to aid in the Department’s
Section 2 enforcement work. That letter argued that the information was needed to accurately
determine whether the citizen voting age population of a particular minority group was
sufficiently large to constitute a majority in a single-member district – contending the current
citizenship data available from the American Community Survey (“ACS”) is inadequate for this
task.
          In my decades of experience as a voting rights expert – including several cases for the
Department of Justice – my work has not been hampered in any way by the lack of citizenship
information in the decennial census. It is therefore my opinion, held to a reasonable degree of
professional certainty and based on my experience as an expert in VRA cases, that currently
available census data, including the citizenship data derived from the Census Bureau’s ACS, has
proven to be perfectly sufficient to ascertain whether an electoral system or redistricting plan
dilutes minority votes.


III. Section 2 of the Voting Rights Act and the use of census data
          In Thornburg v. Gingles,5 the first U.S. Supreme Court case to consider the 1982
Amendments to the Voting Rights Act of 1965, the Court determined that minority plaintiffs
had to satisfy three threshold factors to establish a violation of Section 2 of the VRA:
              1) the minority group must be sufficiently large and geographically compact to
                  constitute a majority in a single-member district;
              2) the minority group must be politically cohesive; and




4
    I am being compensated at a rate of $300 per hour for my work.
5
    478 U.S. 30 (1986).


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           3) the minority group must be able to demonstrate that the white majority votes
               sufficiently as a bloc to enable it to usually defeat the minority’s preferred
               candidate.
Social scientists such as myself typically conduct the analyses required to determine if a
minority group residing within a given jurisdiction meets these three preconditions.
       The first precondition that a minority group must satisfy – that it is sufficiently large to
constitute a majority in a single-member district – is designed to demonstrate to the Court that
it is possible to remedy the potential violation. This precondition is met by presenting the Court
with an illustrative districting plan that includes at least one, for example, majority black voting
age population district or majority Hispanic citizen voting age population district.
       Evidence that the minority group is politically cohesive (the second precondition) is
necessary to show that minority voters’ shared political interests lead them to support the
same candidates – if they are not politically cohesive there is no distinct minority interest to
protect. If the white majority consistently votes against minority-preferred candidates and
these candidates are usually defeated (the third precondition), then minority voters do not
have an opportunity to elect their preferred candidates to office. An analysis of voting patterns
by race/ethnicity is required to show that minorities satisfy the second and third Gingles
preconditions. Because the race/ethnicity of the voter is not, of course, obtainable from the
ballot, a statistical analysis must be conducted using data from a database that incorporates
election results by precinct with the demographic composition of these precincts.
       In most if not all Section 2 cases, plaintiffs use data collected and reported by the
Census Bureau to determine if there are a sufficient number of geographically concentrated
minorities to satisfy the first Gingles precondition. In addition, census data may be used to
conduct an analysis of voting patterns by race/ethnicity in the absence of registration or
turnout data by race/ethnicity.
       If a court finds that a jurisdiction is violating Section 2 of the Voting Rights Act, census
data may be informative in fashioning an effective remedy. However, creating a district that
offers minority voters an opportunity to elect candidates of their choice requires more than
census data; it requires a district-specific, functional analysis that also takes into account the


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registration and turnout rates of minorities and whites, the degree of minority cohesion, and the
amount of white crossover votes for minority-preferred candidates that might generally be
expected in the specific area of the proposed remedial district.6


IV. Drawing illustrative districts to ascertain whether the minority group is sufficiently large
          The first precondition that a minority group must satisfy to establish a violation of
Section 2 of the VRA is that it is sufficiently large and geographically compact enough to form a
majority in at least one single-member district. In Bartlett v. Strickland,7 the U.S. Supreme
Court interpreted this to mean that black voters had to demonstrate that it was possible to
draw a single-member district that was at least 50 percent black in voting age population. As
noted in the recent letter signed by Arthur Gary of the Department of Justice (the “Gary
Letter”), some federal courts have indicated that citizenship rates are relevant to ascertaining
whether certain minority plaintiffs (for example, Hispanics) satisfy this precondition of Gingles.8
Thus, expert analysis often focuses on whether a single-member district can be created that is,
for example, at least 50 percent Hispanic in citizen voting age population. Notably, the majority
of the cases cited in the Gary letter were decided decades before the current proposal to add a
citizenship question to the decennial census enumeration questionnaire.9 Hence, sample
survey data from census questionnaires other than the decennial census has always served as


6
 For an in-depth discussion of this district-specific, functional approach to creating effective minority
districts, see Bernard Grofman, Lisa Handley and David Lublin, “Drawing Effective Minority Districts: A
Conceptual Framework and Some Empirical Evidence,” 79 N.C. L. Rev. 1383 (2001).
7
    556 U.S. 1 (2009).
8
 See Letter from Arthur E. Gary, General Counsel, Justice Management Division, U.S. Department of
Justice to Dr. Ron Jarmin, Performing the Non-Exclusive Functions and Duties of the Director, U.S.
Census Bureau (December 12, 2017) (citing Reyes v. City of Farmers Branch, 586 F.3d 1019, 1023-24 (5th
Cir. 2009); Barnett v. City of Chicago, 141 F.3d 699, 704 (7th Cir. 1998); Negron v. City of Miami Beach, 113
F.3d 1563, 1567-69 (11th Cir. 1997); Romero v. City of Pomona, 883 F.2d 1418, 1426 (9th Cir. 1989),
overruled in part on other grounds by Townsend v. Holman Consulting Corp., 914 F.2d 1136 (9th Cir. 1990);
LULAC v. Perry, 548 U.S. 399, 423-442 (2006)).
9
 See Reyes, 586 F.3d at 1023-24; Barnett, 141 F.3d at 704; Negron, 113 F.3d at 1567-69; Romero, 883 F.2d
at 1426; LULAC, 548 U.S. at 423-442.


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the source for citizenship information for purposes of VRA enforcement, and has always
sufficed for that purpose.
        Sources of citizenship data Because the decennial census enumeration questionnaire
distributed to the entire population has not collected data on citizenship since 1950 – before
the passage of the VRA – voting rights experts have relied upon other sources of census data to
demonstrate that a minority group is large enough to comprise a majority of the citizen voting
age population in at least one single-member district. Between 1970 and 2000, citizenship data
was available from the census “long form.”10 The census long form was given to only a sample
of the population; for example, in 2000 it was given to approximately one in every six
households. Even though the information collected was based on a sample survey rather than
a complete enumeration, the margins of errors associated with each of the estimates were not
reported by the Bureau.
        In 2005, the American Community Survey (ACS) was introduced to collect citizenship
data, as well as other demographic, housing, social and economic data. The ACS essentially
replaced the census long form but is conducted on a rolling annual basis, which means that it
offers the advantage of more recent data than the decennial data collection. Because the
annual sample size is smaller, however, estimates for areas with populations of less than 65,000
are pooled in five-year increments to increase their reliability. Cumulating to five-year pooled
estimates yields approximately a one-in–every-eight-household sample. Like data from the
census long form, ACS estimates, including citizenship estimates, are only reported down to the
census block group level; data from the decennial census enumeration is reported down to the
census block level. Unlike with estimates from the census long form, margins of errors are
reported for each of the ACS estimates. (Margins of error provide a measure of the sampling
error associated with each estimate.)


10
  The decennial census enumeration data is collected via what used to be called the short form, which
in 2000 contained six population subjects and one housing subject. This form is sent out to and
supposed to be filled out by every household. The 2000 census long form included the same seven
subjects, as well as an additional 27 subjects. The long form was sent out to one in every six households
in lieu of the short form. In 2010, there was only one form, containing 10 questions, and it was sent to
every household.


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           Examples of citizenship data incorporated into the district drawing process To explain
how Census Bureau survey data regarding citizenship is used in the context of voting rights
cases and analyses, I provide several examples from my work below. As the discussion
illustrates, the absence of citizenship data has not hampered my work as a redistricting or
voting rights expert in any way.
           Statewide Redistricting. I recently served as an expert for the plaintiffs in Lopez v.
Abbott,11 a challenge by Hispanic voters to the at-large method of electing justices to the
Supreme Court of Texas and judges to the Texas Court of Criminal Appeals that is still pending
before the court. To demonstrate that Hispanics satisfy the first prong of Gingles, I drew two
illustrative districting plans, one with nine districts and the other with eight districts,12 to
establish that two compact majority Hispanic citizen voting age population districts could easily
be created. The current forms of data available from the decennial census and ACS were
sufficient for me to perform this analysis. Figure 1 provides a map of the illustrative nine-district
plan and Tables 1 and 2 contain the corresponding district demographics for this nine-district
plan.
           The total population and voting age population data reported in Table 1 are derived from
the 2010 decennial census. Although the illustrative districts were drawn in 2017, I used 2010
census data rather than more recent population estimates in order to reflect what the
population in each district would have been at the time of the decennial census.




11
     Civil Action No. 2:16-CV-303 (S.D. Tex.).
12
   There are nine justices on the Texas Supreme Court and nine judges on the Texas Court of Criminal
Appeals; all 18 justices/judges are elected statewide. I created two illustrative plans: a nine-district plan
in which all nine justices/judges would be elected from single-member districts and an eight-district plan in
which eight justices/judges would be elected from single-member districts and the chief justice/presiding
judge would be elected statewide.

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             Figure 1: Illustrative Nine-District Plan for State of Texas




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     Table 1: Population and Voting Age Population for the Illustrative Nine-District Plan


                             Deviation                                              Percent
                                            Percent                    Hispanic
                 Total       from Ideal                 Voting Age                  Hispanic
    District                              Population                  Voting Age
               Population      District                 Population                 Voting Age
                                           Deviation                  Population
                                 Size                                              Population
       1       2,749,632       -44,319        -1.59     2,011,631      664,378       33.03
       2       2,825,027        31,076        1.11      1,960,159     1,260,806      64.32
       3       2,747,341       -46,610        -1.67     1,980,689     1,228,267      62.01
       4       2,774,913       -19,038         -.68     2,050,265      535,162       26.10
       5       2,817,613        23,662         .85      2,053,330      422,610       20.58
       6       2,805,956        12,005         .43      2,035,942      631,206       31.00
       7       2,829,861        35,910        1.29      2,073,068      258,036       12.45
       8       2,831,790        37,839        1.35      2,098,473      360,729       17.19
       9       2,763,428       -30,523        -1.09     2,016,180      781,950       38.78



           Table 2: Citizen Voting Age Population for the Illustrative Nine-District Plan


                                               Hispanic
                                   Citizen                  Percent Hispanic
                                                Citizen
                      District   Voting Age                  Citizen Voting
                                              Voting Age
                                 Population                  Age Population
                                              Population
                         1       1,633,090     426,320           26.11
                         2       1,593,403     951,096           59.69
                         3       1,701,369    1,007,115          59.19
                         4       1,877,721     437,823           23.32
                         5       1,787,681     267,183           14.95
                         6       1,577,169     320,965           20.35
                         7       1,839,054     151,604            8.24
                         8       1,839,494     222,759           12.11
                         9       1,500,925     428,937           28.58


       Because the decennial census does not collect data on citizenship, the total citizen
voting age population (CVAP) and Hispanic citizen voting age population (HCVAP) reported in
Table 2 are derived from ACS data (for the 253 counties not split by district boundaries) or a
combination of decennial census and ACS data (for Harris County). In order to align in time


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with the total and voting age population data from the 2010 decennial census in Table 1, the
CVAP figures in Table 2 have been calculated to reflect the district CVAP in 2010, using five-year
pooled ACS estimates.
          The five-year pooled ACS estimates for each county that was not divided by district
boundaries (253 of the 254 counties in Texas were wholly contained within single districts in
the illustrative plan) were simply summed to reflect the configurations of the illustrative
districts.13 In other words, for my purposes, ACS citizenship data at the county level was
sufficient to account for 253 of 254 Texas counties in the illustrative map.
          The population of Harris County, however, was too large to include within a single district
and was divided across three districts.14 This required citizenship data at a smaller level of
geographic specificity than the county. To produce CVAP and HCVAP figures for the portions of
the county assigned to different districts in the illustrative districting plan, CVAP and HCVAP
estimates for all census blocks in Harris County were produced and then summed to reflect
each of the portions. The lack of citizenship data at the block level did not impede this analysis,
however, because I was able to adopt one of several available estimation procedures to derive
this information. Under my direction, the Hispanic citizenship ratio (i.e., the percentage of
voting age Hispanics who are citizens) for each census tract in Harris County was calculated by
dividing the census tract HCVAP by the census tract Hispanic voting age population (HVAP), as
reported in the five-year pooled ACS data. The citizenship ratio for each census tract was then
applied to the 2010 HVAP (as reported in the 2010 decennial census) of each of the census
blocks falling within the given tract. These calculations generated estimates of the 2010 HCVAP
for all of the census blocks in Harris County.15 These census-block HCVAP estimates were then
summed to reflect the portion of Harris County included within the given district.


13
     U.S. Census Bureau, American Community Survey 5-Year dataset for 2009-2013.
14
  Harris County had to be split because it exceeds the ideal population size in both the eight and nine
district plans. The ideal district size, calculated by dividing the total population of the state by the
number of districts to be created, is 2,793,951 in a nine-district plan and 3,143,195 in an eight-district
plan. Harris County had a population of 4,092,459 in 2010.
15
 For a description of the estimation procedure I used, see Jorge Chapa, Ana Henderson, Aggie Jooyoon
Noah, Werner Schink and Robert Kengle, “Redistricting: Estimating Citizen Voting Age Population”

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          The defendants in Lopez did not attack the district CVAP or HCVAP numbers I presented
in my report and in trial testimony. While the judge has not rendered a decision in this case to
date, other recent Texas decisions have accepted the use of ACS data for the purpose of
satisfying the first prong of Gingles. For example, in Rodriguez v. Harris County, the Court found
ACS data “sufficiently probative on the issue of citizen voting age population,” indicating that
“ACS data is perhaps the best measure of citizen voting age data currently available; it is
collected by the Census Bureau and the Census Bureau’s publication of and reliance on ACS
data ‘suggests that the Bureau considers ACS data reliable and intends for it to be relied upon in
decisions such as Voting Rights Act compliance.’ ”16
          Local Redistricting. Because the illustrative judicial districts I created for Texas in Lopez
were large, very little drawing at the census block level was required and therefore few
inferences about the citizenship population at the block level had to be made. But even when
drawing illustrative districts in small jurisdictions, courts have not hesitated to accept citizenship
estimates.
          Taking an example from my own work at the local level, I served as a voting rights expert
for the U.S. Department of Justice in the Section 2 challenge to Port Chester, New York’s at-
large method of electing its Board of Trustees in United States v. Village of Port Chester.17
Because Port Chester is geographically quite compact (2.5 square miles), illustrative plans
presented to the court had to be drawn at the census block level. The demographic expert for
the Department drew two illustrative single-member districting plans, both of which included a
majority Hispanic CVAP district. To determine the citizen composition of these illustrative
districts, he relied on data derived from the 2000 census long form.




Research Brief, The Chief Justice Earl Warren Institute on Law and Social Policy, University of California,
Berkeley Law School, Sept. 2011.
16
  964 F. Supp. 2d 686, 727-28 (S.D. Tex. 2013). See also Patino v. City of Pasadena, 230 F. Supp. 3d 667,
687-89 (S.D. Tex. 2017) and Benavidez v. Irving Independent School District, No. 3:13–CV–0087–D, 2014
WL 4055366, at *17 (N.D. Tex. 2014).
17
     United States v. Village of Port Chester, No. 06 Civ. 15173(SCR), 2008 WL 190502 (S.D.N.Y. 2008).


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       The Court accepted the illustrative plans as evidence that Hispanics were sufficiently
large and geographically compact in the Village of Port Chester to constitute a majority of the
CVAP in a single-member district. The Court also determined that Hispanic voters satisfied the
second and third Gingles preconditions and that the at-large system for electing the Board of
Trustees violated Section 2 of the Voting Rights Act. As a consequence of a consent order
entered by court in 2009, the Village of Port Chester adopted a cumulative voting system
(rather than a single-member district system) to provide Hispanic voters with the ability to elect
their preferred candidates to office.
       When the consent decree expired in June 2016, the Board of Trustees hired me to assist
them in determining whether to retain the cumulative voting system or to adopt an alternative
electoral system. The Hispanic population had grown since the 2006 litigation and, as part of
my mandate, I drew several illustrative single-member districting plans to determine how many
compact majority HCVAP districts it was now possible to create in Port Chester. The HCVAP
percentages I reported for each district were produced using the same HCVAP/HVAP ratio
estimation procedure described above for Harris County, Texas. The illustrative six-district plan
(Figure 2) and the corresponding district demographics for this plan (Table 3) are found below.
The percentages in Table 3 reflect 2010 HCVAP percentages to align with the 2010 total
population figures reported in the table. Because of the marked increase in the Hispanic
population since 2010 (as reported in ACS data), the HCVAP percentages for the majority
Hispanic districts in the illustrative plan are likely to be substantially higher. Once again, the
citizenship data provided by the ACS was sufficient for my work, even when drawing districts
for a small municipality like Port Chester.




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                 Figure 2: Illustrative Six-District Plan for Village of Port Chester




Table 3: Total population and citizen voting age population for illustrative six-district plan


                                                                    Hispanic       Percent
                         Deviation                     Citizen
                                         Percent                     Citizen       Hispanic
              Total      from Ideal                  Voting Age
 District                              Population                  Voting Age       Citizen
            Population     District                  Population
                                        Deviation                  Population     Voting Age
                            Size                      Estimate
                                                                    Estimate      Population
    1         4840           12            .25          2087           832          39.87
    2         4770           -58          -1.20         1749          1166          66.69
    3         4924           96           1.99          2031           875          43.08
    4         4805           -23           -.48         1699          1088          64.05
    5         4767           -61          -1.26         2356           630          26.74
    6         4861           33            .68          2861           406          14.18




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V. Evaluating potential remedial districting plans

        Courts have accepted illustrative plans showing that at least one majority-minority
district can be drawn as evidence that a minority group satisfies the first prong of Gingles. But
fashioning an effective remedy for a Section 2 violation requires more than simply drawing, for
example, a 50 percent black VAP or Hispanic CVAP district. Creating a district that offers
minority voters a realistic opportunity to elect candidates of their choice requires a district-
specific, functional analysis – one that takes into account not only population concentrations
and citizenship rates, but also the participation rates and voting patterns of white and minority
voters. Drawing minority districts informed by a district-specific, functional analysis avoids
creating districts that either fail to provide minorities with an effective opportunity to elect
their preferred candidates, on the one hand, or pack minority voters into a district
unnecessarily, on the other hand.
        While citizenship rates are incorporated into a functional approach, an analysis of voting
patterns by race and ethnicity plays the essential role in the evaluation. An analysis of voting
patterns allows me to ascertain the relative participation rates of minorities and whites, the
degree of minority cohesion, and the expected amount of white “crossover” votes for minority-
preferred candidates in the specific geographic area of the proposed remedial district.18 Because

18
   The voting patterns of white and minority voters must be estimated using statistical techniques
because direct information about how individuals have voted is simply not available – the race of the
voter is not, of course, obtainable from the secret ballot. Regardless of the statistical technique used, a
database that matches precinct election results with the demographic composition of the electorate of
these precincts must be constructed to conduct the analysis. The best data to use for this purpose is
voter turnout data by race/ethnicity or, if this is not available, voter registration data by race/ethnicity.
However, only a handful of southern states collect this information and report it at the election precinct
level. In jurisdictions that do not collect this data, VAP by race and Hispanic origin as reported by the
decennial census is often used as a proxy for the demographic composition of the electorate in each
precinct. However, this data can be problematic if there have been dramatic shifts in the racial or ethnic
composition of the precincts in the jurisdiction over the course of the decade. If there have been
sizeable changes, relying on the decennial census results for an election that occurred more than a
couple of years before or after the census will produce an inaccurate indication of the demographic
composition of the electorate in each of the precincts and therefore inaccurate estimates of voting
patterns by race and ethnicity. Using demographic data from ACS, including citizenship rates if
citizenship is an issue, provides a better indication of the demographic composition of the precincts over
shorter periods of time (at intervals less than 10 years). For example, because of the rapidly increasing
minority population in Eastpointe, Michigan, I used estimates of the CVAP by race and ethnicity by
precinct based on the ACS to conduct a racial bloc voting analysis on behalf of the U.S. Department of

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this approach focuses on turnout rates and voting behavior, citizenship rates are taken into
account only indirectly. The lack of citizenship data in the decennial census has not impacted this
functional approach in any way.
           This type of district-specific, functional analysis was the approach used by the Department
of Justice when reviewing proposed redistricting plans under Section 5 of the Voting Rights Act.
According to Department guidelines:
           In determining whether the ability to elect exists in the benchmark plan and
           whether it continues in the proposed plan, the Attorney General does not rely on
           any predetermined or fixed demographic percentages at any point in the
           assessment. Rather, in the Department’s view, this determination requires a
           functional analysis of the electoral behavior within the particular jurisdiction or
           election district. As noted above, census data alone may not provide sufficient
           indicia of electoral behavior to make the requisite determination.19

           For example, I employed a district-specific, functional approach on behalf of the
Department of Justice in Texas v. United States,20 a lawsuit filed by the state of Texas seeking
judicial preclearance under Section 5 of the VRA of the congressional and state house districts
proposed by the state in 2011. Following the release of the 2010 census data, the State of
Texas redrew Congressional District 23 to include a comparable percentage of HCVAP (58.4
percent HCVAP prior to redistricting and 58.5 percent HCVAP after redrawing), but replaced
Hispanic citizens who were likely to turn out to vote with Hispanic citizens who were less likely
to vote. This meant that Congressional District 23 as proposed would no longer provide
Hispanic voters with the opportunity to elect candidates of choice.
           I presented an illustrative map to the Court to demonstrate that Congressional District
23 could easily be modified so that it would continue to provide Hispanic voters with an
opportunity to elect Hispanic-preferred candidates. I relied on an analysis of the electoral
behavior of white and minority voters to make my assessments of the effectiveness of


Justice in voting rights litigation currently underway in the jurisdiction. (United States v. City of
Eastpointe, No. 4:17-CV-10079 (E.D. Mich.)).
19
     76 F.R. 7649, 7471 (Feb. 9, 2011).
20
     887 F. Supp. 2d 133 (D.D.C. 2012), vacated on other grounds, 570 U.S. 928 (2013).


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Congressional District 23 in the existing plan, the plan proposed by the State of Texas, and my
illustrative plan.
        Although there is no longer an operative coverage formula under Section 4 of the VRA,
meaning that the Department no longer undertakes Section 5 preclearance reviews for
jurisdictions (unless they have specifically been “bailed-in” to preclearance coverage under
Section 3(c) of the VRA),21 I continue to use a district-specific, functional approach rather than
relying solely on VAP or CVAP to evaluate the effectiveness of both existing and proposed
districts in the context of my consulting work and as an expert witness in Section 2 litigation,
including in my work on behalf of the Department of Justice. Only a functional analysis can
determine if minority voters will be provided with an effective opportunity to participate in the
political process and to elect representatives of their choice. As noted above, the lack of
decennial census CVAP data has not hindered my analysis using this approach.


VI. Flaws in census data
        While currently available census citizenship data is not flawless, it is sufficient for
determining if a jurisdiction is diluting minority voting strength in violation of Section 2 of the
VRA. It is important to note that “flawless” census data does not exist. Citizenship data derived
from the ACS is based on a sample, and as such, is subject to margins of error. Decennial
census data is not subject to sampling error because it is an enumeration rather than a sample,
but it does have errors associated with it – errors that I understand could be magnified if a
question about citizenship is included in the enumeration questionnaire.22 Furthermore,


21
   As stated on the U.S. Department of Justice website: On June 25, 2013, the United States Supreme
Court held that it is unconstitutional to use the coverage formula in Section 4(b) of the Voting Rights Act
to determine which jurisdictions are subject to the preclearance requirement of Section 5 of the Voting
Rights Act, Shelby County v. Holder, 133 S. Ct. 2612 (2013). The effect of the Shelby County decision is
that the jurisdictions identified by the coverage formula in Section 4(b) no longer need to seek
preclearance for the new voting changes, unless they are covered by a separate court order entered
under Section 3(c) of the Voting Rights Act. See https://www.justice.gov/crt/about-section-5-voting-
rights-act.
22
  See, for example, J. David Brown, Misty L. Heggeness, Suzanne M. Dorinksi, Lawrence Warren and
Moises Yi, “Understanding the Quality of Alternative Citizenship Data Sources for the 2020 Census,” U.S.
Census Bureau, CES 18-38, August 2018, at

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because of confidentiality concerns, citizenship data reported in the decennial census will have
to go through a disclosure avoidance process that will by necessity introduce further errors into
CVAP data produced at the block level, and, according to the Chief Scientist at the Bureau, it is
questionable whether redistricting offices and the Department of Justice will ultimately be able
to use the census block CVAP data effectively.23
          There are three broad sources of error associated with existing decennial census
enumeration data. First, there are coverage errors. These arise when persons are incorrectly
excluded or included, or are duplicated in the count.24 Second, there are geographic errors.
These happen when an address was placed in the wrong census geographic location or when
there is a misunderstanding of the census residence rules (e.g., the person counted was
assigned to the wrong residence from among several part-time residences). Third, there are
demographic errors. These occur when a person’s demographic characteristics have been
incorrectly reported, recorded or imputed.
          The Census Bureau has documented these errors in the decennial enumeration through
the use of survey data. Based on the post-2010 enumeration survey,25 conducted by the
Bureau to provide a measure of the accuracy of the 2010 decennial census, the Bureau
estimates that “among the 300.7 million people who live in housing units, about 94.7 percent
were counted correctly, 3.3 percent were counted erroneously, 1.6 percent provided only a




https://apps.npr.org/documents/document.html?id=4797159-Understanding-the-Quality-of-
Alternative.
23
     Deposition of Dr. John Abowd, Chief Scientist, U.S. Census Bureau, August 29, 2018, at 54-56, 100-01.
24
  Persons included in the count who should not have been are those who were not residents of the U.S.
on census day (e.g., babies born after census day or persons who died before census day, temporary
visitors to the U.S., and fabricated persons). Examples of duplicate counts are persons with more than
one residence who were counted at more than one residence (e.g., college students, retirees with two
homes).
25
  The post-enumeration survey (PES) draws samples of census block clusters and compares the
information collected to the census enumeration data for the same geographic clusters.


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census count and had their demographic characteristics imputed, and .4 percent needed more
extensive imputation after all census follow-up efforts were attempted.”26
           In addition to enumeration errors, the Census Bureau estimated there were 16.0 million
omissions in the 2010 census (although the Bureau indicates that 6.0 million of these people
were likely to have been counted in the census but could not be verified in the post-
enumeration survey).27 Omissions are not random – certain segments of the population,
including blacks and Hispanics, are more likely not to be counted in the decennial census than
others. For example, the Census Bureau reports that the 2010 census under-counted 2.1
percent of the black population and 1.5 percent of the Hispanic population; the non-Hispanic
white population, on the other hand, was over-counted by .8 percent.28
           Citizenship data collected through the decennial census will be subject to these same
types of errors. Indeed, some of these errors could be magnified, as there are reasons to
believe that including a question about citizenship on the decennial census form in 2020 will
exacerbate the undercount of at least some minority groups.29
           The reliability of citizenship information based on information collected through the
decennial census, especially at small levels of geography such as the census block, faces at least
one additional challenge. As mentioned above, the Census Bureau uses disclosure avoidance
procedures to modify or remove data that puts confidential information at risk of disclosure.
Thus, while it may appear that census data is providing information about a specific individual
or group of individuals who reside within a given census block, the Census Bureau has taken


26
  See News Release, “Census Bureau Releases Estimates of Undercount and Overcount in the 2010
Census” (May 22, 2012), https://www.census.gov/newsroom/releases/archives/2010_census/cb12-
95.html.
27
     Id.
28
     Id.
29
  See, for example, D’Vera Cohn, “What to know about the citizenship question the Census Bureau is
planning to ask in 2020,” Pew Research Center, March 30, 2018, http://www.pewresearch.org/fact-
tank/2018/03/30/what-to-know-about-the-citizenship-question-the-census-bureau-is-planning-to-ask-
in-2020/.



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steps to disguise or suppress the actual characteristics associated with that individual or group
through either data swapping or the use of synthetic data.30 While disclosure avoidance
techniques have less impact on larger geographic areas since the data swapping often occurs
within neighboring areas, these techniques have a distinctly greater effect at the census block
level.
           A disclosure avoidance system will have to be put in place to protect citizenship
information collected during the 2020 decennial enumeration. According to the deposition
testimony of Dr. John Abowd, Chief Scientist at the Census Bureau, the Bureau has not yet set
the parameters for the 2020 disclosure avoidance system.31 Furthermore, the Bureau has not
determined if, once disclosure avoidance is implemented, the error margins associated with
block level CVAP data based on the 2020 decennial enumeration will be any smaller than the
error margins associated with the ACS block group level citizenship data currently relied on for
purposes of VRA enforcement. Dr. Abowd indicated that he did not know if the error margins
that would ultimately be associated with the block level CVAP data based on information
collected through the decennial enumeration will “still allow redistricting offices and the
Department of Justice to use the data effectively.”32


VII. Conclusion
           The lack of citizenship information in the decennial census has not hampered my work
as a voting rights expert in any way. Based on my experience and expertise as an expert in
voting rights litigation, I conclude that the citizenship estimates currently available in the ACS
have been adequate for demonstrating that the Hispanic population is sufficiently large to
constitute a majority of the citizen voting age population in an illustrative single-member

30
  Data swapping is done by exchanging records for the purposes of confidentiality: a sample of
households is selected and matched on a set of key variables with households in neighboring geographic
areas that have similar characteristics (e.g., same number of adults and children) and these records are
then swapped. Synthetic data uses statistical modeling to generate contrived household characteristics
in order to avoid the disclosure of confidential information.
31
     See supra, note 23.
32
     Deposition of Dr. John Abowd, Chief Scientist, U.S. Census Bureau, August 29, 2018, at 101.


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district for the purposes of satisfying the first precondition of Gingles. This has been true for
the cases in which I have participated, including three in which I served as an expert for the
Department of Justice.
       Moreover, in fashioning a remedy or assessing a proposed minority district, the district-
specific, functional analysis I use, while indirectly incorporating citizenship rates, relies on
minority and white participation rates and voting patterns. In fact, as the example of
Congressional District 23 in Texas above demonstrates, an assessment based on the percentage
HCVAP alone can be misleading to the determination of whether a district will provide minority
voters with an opportunity to elect candidates of their choice to office.
       Finally, no census data set is flawless. Citizenship data collected through the decennial
enumeration will feature the same errors found in the decennial census data in general, and
including a citizenship question may even exacerbate some of these errors. Perhaps more
importantly, the Bureau has indicated that disclosure avoidance may render the block level
citizenship data no more reliable than the block group level citizenship data reported by the
ACS.




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                                    Professional Experience

Dr. Handley has over thirty years of experience in the areas of redistricting and voting rights,
both as a practitioner and an academician, and is recognized nationally (as well as
internationally) as an expert on these subjects. She has advised numerous jurisdictions and
other clients on redistricting and has served as an expert in dozens of redistricting and voting
rights court cases. Her clients have included the U.S. Department of Justice and scores of state
and local jurisdictions, as well as redistricting commissions and civil rights organizations.
Internationally, Dr. Handley has provided electoral assistance in more than a dozen countries,
serving as a consultant on issues of democratic governance – including voting rights, electoral
system design and electoral boundary delimitation (redistricting) – for the United Nations, the
United Nations Development Fund (UNDP), IFES, and International IDEA. In addition, Dr.
Handley served as Chairman of the Electoral Boundaries Commission in the Cayman Islands.

Dr. Handley has been actively involved in research, writing and teaching on the subjects of
voting rights and redistricting. She has written a book, Minority Representation and the Quest
for Voting Equality (Cambridge University Press, 1992) and numerous articles, as well as edited
a volume (Redistricting in Comparative Perspective, Oxford University Press, 2008) on these
subjects. She has taught political science and methodology courses at several universities,
most recently George Washington University. Dr. Handley is a Visiting Research Academic at
Oxford Brookes University in the United Kingdom.

Dr. Handley is the President of Frontier International Consulting, a consulting firm that
specializes in providing electoral assistance in transitional and post-conflict democracies. She
also works as an independent election consultant for such international organizations as the
United Nations.

                                            Education

Ph.D. The George Washington University, Political Science, 1991

                                      Present Employment

President, Frontier International Electoral Consulting LLC (since co-founding company in
September of 1998).

Senior International Consultant, provides electoral assistance to such international clients as
the UN, UNDP and IFES on electoral district delimitation, electoral system design and minority
voting rights.
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                                       U.S. Clients since 2000

US Department of Justice (expert witness testimony in several Section 2 and Section 5 cases)

Alaska: Alaska Redistricting Board (redistricting consultation, expert witness testimony)

Arizona: Arizona Independent Redistricting Board (redistricting consultation, expert witness)

Arkansas: expert witness for Plaintiffs in Jeffers v. Beebe

Colorado: Colorado Redistricting Board (redistricting consultation)

Connecticut: State Senate and State House of Representatives (redistricting consultation)

Florida: State Senate (redistricting consultation)

Illinois: State Senate (redistricting litigation consultation)

Kansas: State Senate and House Legislative Services (redistricting consultation)

Louisiana: Louisiana Legislative Black Caucus (expert witness testimony)

Massachusetts: State Senate (redistricting consultation)

Maryland: Attorney General (redistricting consultation, expert witness testimony)

Miami-Dade County, Florida: County Attorney (redistricting consultation)

Nassau County, New York: Redistricting Commission (redistricting consulting)

New Mexico: State House (redistricting consultation, expert witness testimony)

New York: State Assembly (redistricting consultation)

New York City: Redistricting Commission and Charter Commission (redistricting consultation
and Section 5 submission assistance)

New York State Court: Expert to the Special Master (drew congressional lines for state court)

Ohio: State Democratic Party (redistricting litigation support, expert witness testimony)

Pennsylvania: Senate Democratic Caucus (redistricting consultation)

Rhode Island: State Senate and State House (litigation support, expert witness testimony)

Texas: Lieutenant Governor (redistricting litigation/expert witness testimony)

Vermont: Secretary of State (redistricting consultation)

Wisconsin: State Senate (redistricting litigation consultation)
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                                International Clients since 2000

United Nations
    Afghanistan – electoral system design and district delimitation expert
    Bangladesh (UNDP) – redistricting expert
    Sierra Leone (UNDP) – redistricting expert
    Liberia (UNMIL, UN peacekeeping mission) – redistricting expert
    Democratic Republic of the Congo (MONUC, UN peacekeeping mission) – election
       feasibility mission, electoral system design and redistricting expert
    Kenya (UN) – electoral system design and redistricting expert
    Haiti (UN) – election feasibility mission, electoral system design and redistricting expert
    Lead Writer on the topic of boundary delimitation (redistricting) for ACE
       (Administration and Cost of Elections Project)

International Foundation for Election Systems (IFES)
     Afghanistan – district delimitation expert
     Sudan – redistricting expert
     Kosovo – electoral system design and redistricting expert
     Nigeria – redistricting expert
     Nepal – redistricting expert
     Georgia – electoral system design and district delimitation expert
     Yemen – redistricting expert
     Lebanon – electoral system design and redistricting expert
     Myanmar – electoral system design and redistricting expert
     Ukraine – electoral system design and redistricting expert
     Pakistan – consultant for developing redistricting software
     Principal consultant for the Delimitation Equity Project – conducted research, wrote
       reference manual and developed training curriculum
     Writer on electoral boundary delimitation (redistricting), Elections Standards Project
     Training – developed training curriculum and conducted training workshops on
       electoral boundary delimitation (redistricting ) in Azerbaijan and Jamaica

International Institute for Democracy and Electoral Assistance (International IDEA):
     Consultant on electoral dispute resolution systems
     Technology consultant on use of GIS for electoral district delimitation
     Training – developed training material and conducted training workshop on electoral
       boundary delimitation (redistricting ) for African election officials (Mauritius)
     Curriculum development – boundary delimitation curriculum for the BRIDGE Project
     Project coordinator for the ACE project

Other international clients have included The Cayman Islands; the Australian Election
Commission; the Boundary Commission of British Columbia, Canada; and the Global Justice
Project for Iraq.
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                                     Previous Employment

Project Coordinator and Lead Writer on Boundary Delimitation, Administration and Cost of
Elections (ACE) Project. As Project Coordinator (1998 – 2000) of the ACE Project, Dr. Handley
served as a liaison between the three partner international organizations – the United Nations,
the International Foundation for Election Systems and International IDEA – and was
responsible for the overall project management of ACE, a web-based global encyclopedia of
election administration. She also served as Lead Writer on Boundary Delimitation for ACE.

Research Director and Statistical Analyst, Election Data Services, Inc. (1984 to 1998). Election
Data Services (E.D.S.) is a Washington D.C. political consulting firm specialising in election
administration. Dr. Handley’s work at E.D.S. focused on providing redistricting and voting
rights consulting and litigation support to scores of state and local jurisdictions.

Adjunct Professor (1986 to 1998). Dr. Handley has taught political science and methodology
courses (both at the graduate and undergraduate level) at George Washington University, the
University of Virginia, and the University of California at Irvine. She has served as a guest
lecture at Harvard, Princeton, Georgetown, American University, George Mason University and
Oxford Brookes University in the UK.

                                             Grants

National Science Foundation Grant (2000-2001): Co-investigator (with Bernard
Grofman) on a comparative redistricting project, which included hosting an
international conference on “Redistricting in a Comparative Perspective” and producing
an edited volume based on the papers presented at the conference.

                                          Publications
Books:

Does Torture Prevention Work? Liverpool University Press, 2016 (served as editor and
author, with Richard Carver)

Comparative Redistricting in Perspective, Oxford University Press, 2008 (first editor,
with Bernard Grofman).

Delimitation Equity Project: Resource Guide, Center for Transitional and Post-Conflict
Governance at IFES and USAID publication, 2006 (lead author).

Minority Representation and the Quest for Voting Equality, Cambridge University Press,
1992 (with Bernard Grofman and Richard Niemi).




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“Has the Voting Rights Act Outlived its Usefulness: In a Word, “No,” Legislative Studies
Quarterly, volume 34 (4), November 2009 (with David Lublin, Thomas Brunell and Bernard
Grofman).

“Delimitation Consulting in the US and Elsewhere,” Zeitschrift für Politikberatung, volume 1
(3/4), 2008 (with Peter Schrott).

“Drawing Effective Minority Districts: A Conceptual Framework and Some Empirical Evidence,”
North Carolina Law Review, volume 79 (5), June 2001 (with Bernard Grofman and David Lublin).

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2000 Data and Redistricting Technology, edited by Nathaniel Persily, New York: Brennan
Center, 2000.

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Bernard Grofman).

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Quarterly, 23 (2), April 1995 (with Kimball Brace, Richard Niemi and Harold Stanley).

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"The Impact of the Voting Rights Act on Minority Representation in Southern State
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Grofman).

"Minority Population Proportion and Black and Hispanic Congressional Success in the
1970s and 1980s," American Politics Quarterly, 17 (4), October 1989 (with Bernard
Grofman).

"Black Representation: Making Sense of Electoral Geography at Different Levels of
Government," Legislative Studies Quarterly, 14 (2), May 1989 (with Bernard Grofman).

"Minority Voting Equality: The 65 Percent Rule in Theory and Practice," Law and Policy,
10 (1), January 1988 (with Kimball Brace, Bernard Grofman and Richard Niemi).

"Does Redistricting Aimed to Help Blacks Necessarily Help Republicans?" Journal of
Politics, 49 (1), February 1987 (with Kimball Brace and Bernard Grofman).




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“Redistricting” in Oxford Handbook of Electoral Systems, Erik Herron Robert Pekkanen and
Matthew Shugart (eds), Oxford: Oxford University Press, 2018.

“Role of the Courts in the Electoral Boundary Delimitation Process,” in International Election
Remedies, John Hardin Young (ed.), Chicago: American Bar Association Press, 2017.

“One Person, One Vote, Different Values: Comparing Delimitation Practices in India,
Canada, the United Kingdom, and the United States,” in Fixing Electoral Boundaries in
India, edited by Mohd. Sanjeer Alam and K.C. Sivaramakrishman, New Delhi: Oxford
University Press, 2015.

“Delimiting Electoral Boundaries in Post-Conflict Settings,” in Comparative Redistricting
in Perspective, edited by Lisa Handley and Bernard Grofman, Oxford: Oxford University
Press, 2008.

“A Comparative Survey of Structures and Criteria for Boundary Delimitation,” in
Comparative Redistricting in Perspective, edited by Lisa Handley and Bernard Grofman,
Oxford: Oxford University Press, 2008.

“Drawing Effective Minority Districts: A Conceptual Model,” in Voting Rights and Minority
Representation, edited by David Bositis, published by the Joint Center for Political and
Economic Studies, Washington DC, and University Press of America, New York, 2006.

“Electing Minority-Preferred Candidates to Legislative Office: The Relationship Between
Minority Percentages in Districts and the Election of Minority-Preferred Candidates,” in
Race and Redistricting in the 1990s, edited by Bernard Grofman; New York: Agathon
Press, 1998 (with Bernard Grofman and Wayne Arden).

“Estimating the Impact of Voting-Rights-Related Districting on Democratic Strength in
the U.S. House of Representatives,” in Race and Redistricting in the 1990s, edited by
Bernard Grofman; New York: Agathon Press, 1998 (with Bernard Grofman).

“Voting Rights in the 1990s: An Overview,” in Race and Redistricting in the 1990s,
edited by Bernard Grofman; New York: Agathon Press, 1998 (with Bernard Grofman and
Wayne Arden).

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(with Bernard Grofman).



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"The Impact of the Voting Rights Act on Minority Representation: Black Officeholding in
Southern State Legislatures and Congressional Delegations," in The Quiet Revolution:
The Impact of the Voting Rights Act in the South, 1965-1990, eds. Chandler Davidson
and Bernard Grofman, Princeton University Press, 1994 (with Bernard Grofman).

"Preconditions for Black and Hispanic Congressional Success," in United States Electoral
Systems: Their Impact on Women and Minorities, eds. Wilma Rule and Joseph
Zimmerman, Greenwood Press, 1992 (with Bernard Grofman).

Electronic Publication:

“Boundary Delimitation” Topic Area for the Administration and Cost of Elections (ACE)
Project, 1998. Published by the ACE Project on the ACE website (www.aceproject.org).

Additional Writings of Note:

Amicus brief presented to the US Supreme Court in Gill v. Whitford, Brief of Political Science
Professors as Amici Curiae, 2017 (one of more than a political scientists to sign brief)

Amicus brief presented to the US Supreme Court in Shelby County v. Holder, Brief of Historians
and Social Scientists as Amici Curiae, 2013 (one of several dozen historians and social scientists
to sign brief)

Amicus brief presented to the US Supreme Court in Bartlett v. Strickland, 2008 (with Nathaniel
Persily, Bernard Grofman, Bruce Cain, and Theodore Arrington).




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                                       Court Cases since 2005

U.S. v. City of Eastpointe (ongoing) – City of Eastpointe, Michigan, at-large city council

Alabama NAACP v. State of Alabama (ongoing) – Alabama statewide judicial elections

Lopez v. Abbott (ongoing) – Texas statewide judicial elections

Personhaballah v. Alcorn (2016) – Virginia congressional districts

Perez v. Abbott (2012, decided 2017) – Texas congressional and state house districts

Jeffers v. Beebe (2012) – Arkansas state senate district

State of Texas v. U.S. (2011-2012) – Texas congressional and state house districts

In RE 2011 Redistricting Cases (2011-2012) – Alaska state legislative districts

U.S. v. Euclid City School Board (2008-9) – City of Euclid, Ohio at-large school board

U.S. v. City of Euclid (2006-7) – City of Euclid, Ohio council districts

U.S. v. Village of Port Chester (2006-7) – Village of Port Chester, New York at-large city council




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